    Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 1 of 13 PAGEID #: 2




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN THE MATTER OF THE SEARCH
 OF ONE GRAY SAMSUNG GALAXY                                  2:24-mj-95
                                                   CASE NO. ____________________
 S23 CELL PHONE WITH A RED
 SUPREME CELL PHONE CASE




                    AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, Matthew J. Voytek, a Special Agent (“SA”) with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”), being duly sworn, depose and state the following:

                    I. INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a warrant under Rule 41 of

the Federal Rules of Criminal Procedure to search one gray Samsung Galaxy S23 cell phone

with a red supreme cell phone case (“the TARGET DEVICE”), as further described in

Attachment A, and to seize items described in Attachment B.

       2.     I am a Special Agent with the ATF and have been so employed since June 2021.

I have attended formal training at the Federal Law Enforcement Training Center in Glynco,

Georgia, where I completed the Criminal Investigator Training Program. I also attended the

ATF National Academy in Glynco, Georgia, where I completed Special Agent Basic Training. I

have received training in the enforcement of various criminal statutes enacted in the Gun Control

Act of 1968 and the National Firearms Act of 1932. I am presently assigned as a Special Agent

for the ATF Columbus Field Division, Columbus Group I Field Office. Under 18 U.S.C. § 3051,

I am empowered to enforce the criminal laws of the United States.
    Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 2 of 13 PAGEID #: 3




       3.        As a Special Agent, I have participated in many investigations involving federal

firearms violations and narcotics trafficking. Through these investigations, I have employed

various investigative techniques, including conducting electronic surveillance, using confidential

informants, and making controlled purchases of firearms and narcotics. I have also participated

in conducting physical surveillance and have executed multiple federal arrest warrants. I also

know how to analyze information resulting from traditional record searches and reviewing case

files. As a result of my training and experience, I am familiar with federal laws pertaining

firearms and narcotics trafficking.

       4.        I have personally participated in the investigation set forth below. I am familiar

with the facts and circumstances of the investigation through my personal participation; from

discussions with other ATF agents and other law-enforcement officers; and from my review of

records and reports relating to the investigation. Unless otherwise noted, wherever in this

affidavit I assert that a statement was made, the information was provided by another special

agent, law-enforcement officer, or witness who may have had either direct or hearsay knowledge

of that statement and to whom I or others have spoken or whose reports I have read and

reviewed. Throughout this affidavit, reference to “investigators” specifically refers to criminal

investigators.

       5.        This affidavit is intended to show that there is sufficient probable cause for the

above-described search warrant and does not purport to set forth all my knowledge of, or

investigation into, this matter. The facts and information contained in this affidavit are based on

my personal knowledge, my training and experience, my interviews of various witnesses,

including law-enforcement personnel who participated in this investigation, and my review of

certain records and documents.



                                                   2
    Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 3 of 13 PAGEID #: 4




            II. BACKGROUND ON CONTROLLED SUBSTANCES TRAFFICKING

       6.       Federal law generally prohibits the manufacture, distribution, and dispensation of

controlled substances—including methamphetamine—and the possession with intent to do any of

those activities. See 21 U.S.C. § 841(a)(1) and 841(b)(1)(C). Federal law also prohibits

conspiring to do any of the above. See 21 U.S.C. § 846.

        7.      I know based on my training, knowledge, and experience that individuals who

unlawfully distribute controlled substances (“drug traffickers”) commonly maintain their tools of

the trade—including controlled substances, contraband, proceeds of drug sales, and records and

documents related to their drug trafficking—within secure locations inside their residence and/or

vehicles both for their ready access and to conceal them from law enforcement.

        8.      More specifically, I know that drug traffickers commonly maintain both the

source of their illicit gains (the controlled substances themselves) and the proceeds of their

crimes, in the form of U.S. currency, on-hand to readily maintain and finance their illicit drug

business.

        9.      I also know that drug traffickers commonly maintain books, records, receipts,

notes, ledgers, airline tickets, money orders, and other papers relating to the transportation,

ordering, sale and distribution of controlled substances. Likewise, I know that drug traffickers

commonly maintain these books, records, receipts, notes, ledgers, etc., where they will have

ready access to them, such as in their cell phones.

        10.     I also know that drug traffickers commonly maintain addresses or telephone

numbers in books, papers, or on electronic media, including on their cell phones or other portable

electronic devices, which reflect the names, addresses, and/or telephone numbers of their

associates and clients.



                                                  3
    Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 4 of 13 PAGEID #: 5




       11.     I also know that drug traffickers often utilize electronic equipment such as cell

phones and other portable electronic devices, computers, currency counting machines, and

telephone answering machines to generate, transfer, count, record, and/or store information

concerning their drug trafficking.

       12.     I also know that drug traffickers often take or cause to be taken photographs and

videos of them, their associates, their property, and their product. Drug traffickers usually

maintain these photographs and videos in their possession, commonly on their cell phones or

other portable electronic devices.

                    III. BACKGROUND ON FIREARM TRAFFICKERS

       13.     In my training and experience, firearm traffickers commonly leverage and

promote their ability to sell firearms “without paperwork”—i.e., without the buyer having to

complete ATF Form 4473 or undergo the background check through the NICS process described

above, and without the FFL having to submit a multiple sales report (if applicable) to the ATF.

Relatedly, the firearms sold by firearm traffickers are often diverted to the criminal market, as

they are commonly purchased by individuals with criminal records or other disqualifying factors.

       14.     In my training and experience, firearm traffickers commonly maintain records and

documents related to their firearm trafficking within their cell phones.

       15.     I also know that firearm traffickers commonly maintain books, records, receipts,

notes, ledgers, money orders, and other papers—whether in digital or physical form—related to

the purchase and resale of their firearms. Likewise, I know that firearm traffickers commonly

maintain these books, records, receipts, notes, ledgers, etc., where they will have ready access to

them—for example, in their cell phones.




                                                 4
    Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 5 of 13 PAGEID #: 6




        16.    I also know that firearm traffickers commonly maintain addresses or telephone

numbers in books, papers, or on electronic media (cell phones, computers, etc.) which reflect the

names, addresses, and/or telephone numbers of their associates and clients.

        17.    I also know that firearm traffickers often take or cause to be taken photographs

and videos of them, their associates, their property, and their firearm collections or inventories.

Firearm traffickers usually maintain these photographs and videos in their possession and often

do so on their cell phones and other portable electronic devices.

                IV. BACKGROUND ON ILLEGAL FIREAM POSSESSION

       18.     Federal law also generally prohibits individuals who have been convicted of a

crime punishable by imprisonment for a term exceeding one year from possessing a firearm or

ammunition. See 18 U.S.C. §§ 922(g)(1) and 924(a)(8).

        19.    I know that individuals who possess firearms and ammunition frequently utilize

cell phones to take photographs and videos of themselves in possession of their firearms and

ammunition. These same individuals also utilize cellphones, to include calls, texts, and social

media applications, to arrange the purchase and sale of firearms, ammunition, and/or firearm-

related accessories.

        20.    I also know from my training and experience that “cell phones and the services

they provide are ‘such a pervasive and insistent part of daily life’ that carrying one is

indispensable to participation in modern society.” Carpenter v. United States, 138 S. Ct. 2206,

2220 (2018) (quoting Riley v. California, 573 U.S. 373, 385 (2014)).

                                       V. PROBABLE CAUSE

        21.    Based on the facts set forth in this affidavit, there is probable cause to believe that

Gearld HARDEN has committed violations of 21 U.S.C. § 841(a)(1) and 841(b)(1)(C)


                                                  5
    Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 6 of 13 PAGEID #: 7




(distribution of controlled substances); and 18 U.S.C. §§ 922(g)(1) and 924(a)(8) (being a felon

in possession of a firearm) [collectively, the “SUBJECT OFFENSES”]. Furthermore, there is

probable cause to search the TARGET DEVICE for evidence of those crimes and property

designed for use, intended for use, or used in committing those crimes.

        22.     In August of 2023, an ATF Special Agent working in an undercover capacity

(“ATF UCA”) identified Gerald HARDEN as an associate to Buford LOWRY, who was then the

target of a federal investigation into illegal firearm trafficking.

        23.     On August 22, 2023, the ATF UCA travelled to LOWRY’s residence to purchase

firearms from LOWRY. This transaction was recorded by a hidden audio/video device. While

at LOWRY’s residence, HARDEN arrived, and he sold the ATF UCA a Mossberg 500, 12-

gauge shotgun (S/N: U408874) for approximately $300.00. HARDEN also provided the ATF

UCA with approximately three grams of methamphetamine as a sampler for future drug sales

that HARDEN claimed he could make, including Xanax and crack cocaine. As a result, the ATF

Columbus Field Office commenced an investigation into HARDEN, who is a convicted felon. 1

        24.     On October 13, 2023, the ATF UCA returned to LOWRY’s house for another

controlled buy of firearms. This transaction was also recorded by a hidden audio/video device.

While at LOWRY’s residence, LOWRY brokered the sale of two more firearms from HARDEN

to the ATF UCA: (1) a German, MAK, 9mm pistol (S/N: H1726) and (2) a Glock GMBH,

Model 22, .40 caliber pistol (S/N: BWBP410). The ATF UCA paid HARDEN $950.00 for these

two firearms. At one point, the ATF UCA inquired how much an ounce of meth would cost, and

HARDEN indicated it would cost $200.00.



1
  I have queried the Franklin County Clerk of Courts’ Website and learned that Harden was convicted of a
felony offense for felonious assault (F2) in Case No. 10-cr-3808. Judgment was imposed for that conviction
on or about March 21, 2011.

                                                    6
    Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 7 of 13 PAGEID #: 8




       25.     As part of this investigation, I queried ATF databases and learned that HARDEN

does not possess a Federal Firearms License (“FFL”) as required to engage in the business of

dealing in firearms, nor did he possess an FFL at any time relevant to this investigation.

       26.     As a result of HARDEN’s actions, the Grand Jury for the Southern District of

Ohio returned a three-count indictment against him in Case No. 2:24-cr-004 on January 9, 2024.

There, the Grand Jury charged HARDEN with two counts of being a felon in possession of a

firearm and one-count of distribution of methamphetamine. A warrant issued for his arrest.

              VI. NEXUS BETWEEN HARDEN AND THE TARGET DEVICE

       27.     On or about January 31, 2024, ATF Investigators arrested HARDEN at the

Franklin County Court of Common Pleas in connection with the warrant referenced above.

During the execution of that arrest warrant, investigators recovered the TARGET DEVICE

from HARDEN.

       28.     When asked by ATF investigators if the cell phone recovered belonged to him,

HARDEN acknowledged and said it was his cell phone.

       29.     The TARGET DEVICE was taken into custody at that time and has been in law

enforcement custody ever since. ATF has continued investigating HARDEN and others who are

engaged in a conspiracy involving illegal firearms and narcotics trafficking.

       30.     The TARGET DEVICE is currently in storage at 230 West Street, Suite #300,

Columbus, Ohio. In my training and experience, I know that the TARGET DEVICE has been

stored in a manner in which its contents are, to the extent material to this investigation, in

substantially the same state as they were when the TARGET DEVICE first came into the

possession of the ATF.




                                                  7
    Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 8 of 13 PAGEID #: 9




   VII. THE TARGET DEVICE’S RELATIONSHIP TO THE ALLEGED CRIMINAL
                              ACTIVITY

       31.     HARDEN used the TARGET DEVICE to facilitate multiple sales of firearms

that he was prohibited from possessing by federal law. For example, on August 22, 2023,

HARDEN pulled out the TARGET DEVICE and provided video footage of the Mossberg 500

shotgun that he was selling to the ATF UCA, saying: “…Look video evidence for you right

here…” HARDEN then displayed a video on his cellphone which showed HARDEN driving a

car and shooting the provided Mossberg shotgun out the driver side window as the car moved at

a high rate of speed. As the discussion continued, HARDEN described additional firearms and

ammunition that he had elsewhere and displayed pictures from this phone to the ATF UCA. In

addition, HARDEN provided the ATF UCA with his phone number to facilitate future methamphetamine

deals after providing the ATF UCA with a sample of approximately three grams of methamphetamine.

       32.     Finally, I know through training and experience that cell phones are commonly

used, or have a relationship to, unlawful acts such as those described in this affidavit. For

example, I know that cell phones are commonly used to communicate the sale of drugs, firearms,

and other unlawful contraband, and that cell phones can be used for other actions HARDEN may

have taken in furtherance of his criminal activity.

                                      VIII. TECHNICAL TERMS

       33.      Based on my training and experience, I use the following technical terms to

convey the following meanings:

       a.      Wireless telephone: A wireless telephone (or mobile telephone, or cellular

       telephone) is a handheld wireless device used primarily for voice communication through

       radio signals. These telephones send signals through networks of transmitter/receivers

       called "cells," enabling communication with other wireless telephones or traditional "land


                                                 8
Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 9 of 13 PAGEID #: 10




   line" telephones. A wireless telephone usually contains a "call log," which records the

   telephone number, date, and time of calls made to and from the phone. In addition to

   enabling voice communications, wireless telephones now offer a broad range of

   capabilities. These capabilities include but are not limited to: storing names and phone

   numbers in electronic "address books;" sending, receiving, and storing text messages and

   email; taking, sending, receiving, and storing still photographs and moving video; storing

   and playing back audio files; storing dates, appointments, and other information on

   personal calendars; and accessing and downloading information from the Internet.

   Wireless telephones may also include global positioning system ("GPS") technology for

   determining the location of the device.

   b.     Digital camera: A digital camera is a device that records still and moving images

   digitally. Digital cameras use a variety of fixed and removable storage media to store their

   recorded images. Images can usually be retrieved by connecting the camera to a computer

   or by connecting the removable storage medium to a separate reader. Removable storage

   media include various types of flash memory cards or miniature hard drives. Most digital

   cameras also include a screen for viewing the stored images. This storage media can

   contain any digital data, including data unrelated to photographs or videos.

   c.     Portable media player: A portable media player (or "MP3 Player" or iPod) is a

   handheld digital storage device designed primarily to store and play audio, video, or

   photographic files. However, a portable media player can also store any digital data, such

   as word processing documents, even if the device is not designed to access such files. Some

   portable media players can use removable storage media. Removable storage media

   include various types of flash memory cards or miniature hard drives. This removable



                                             9
Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 10 of 13 PAGEID #: 11




    storage media can also store any digital data. Depending on the model, a portable media

    player may have the ability to store very large amounts of electronic data and may offer

    additional features such as a calendar, contact list, clock, or games.

    d.     GPS: A GPS navigation device uses the Global Positioning System to display its

    current location. It often contains records the locations where it has been. Some GPS

    navigation devices can give a user driving or walking directions to another location. These

    devices can contain records of the addresses or locations involved in such navigation. The

    Global Positioning System (generally abbreviated "GPS") consists of 24 NAVSTAR

    satellites orbiting the Earth. Each satellite contains an extremely accurate clock. Each

    satellite repeatedly transmits by radio a mathematical representation of the current time,

    combined with a special sequence of numbers. These signals are sent by radio, using

    specifications that are publicly available. A GPS antenna on Earth can receive those

    signals. When a GPS antenna receives signals from at least four satellites, a computer

    connected to that antenna can mathematically calculate the antenna's latitude, longitude,

    and sometimes altitude with a high level of precision.

    e.     PDA: A personal digital assistant, or PDA, is a handheld electronic device used for

    storing data (such as names, addresses, appointments or notes) and utilizing computer

    programs. Some PDAs also function as wireless communication devices and are used to

    access the Internet and send and receive email. PDAs usually include a memory card or

    other removable storage media for storing data and a keyboard and/or touch screen for

    entering data. Removable storage media include various types of flash memory cards or

    miniature hard drives. This removable storage media can store any digital data. Most PDAs

    run computer software, giving them many of the same capabilities as personal computers.



                                             10
  Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 11 of 13 PAGEID #: 12




       For example, PDA users can work with word-processing documents, spreadsheets, and

       presentations. PDAs may also include global positioning system ("GPS") technology for

       determining the location of the device. ·

       g.      IP Address: An Internet Protocol address ( or simply "IP address") is a unique

       numeric address used by computers on the Internet. An IP address is a series of four

       numbers, each in the range 0-255, separated by periods (e.g., 121.56.97 .178). Every

       computer attached to the Internet computer must be assigned an IP address so that Internet

       traffic sent from and directed to that computer may be directed properly from its source to

       its destination. Most Internet service providers control a range of IP addresses. Some

       computers have static-that is, long-term-IP addresses, while other computers have

       dynamic-that is, frequently changed-IP addresses.

       h.      Internet: The Internet is a global network of computers and other electronic devices

       that communicate with each other. Due to the structure of the Internet, connections between

       devices on the Internet often cross state and international borders, even when the devices

       communicating with each other are in the same state.

       34.     Based on my training, experience, and research, I know that the TARGET

DEVICE has capabilities that allow it to serve as a wireless telephone, digital camera, portable

media player, GPS navigation device, and PDA. In my training and experience, examining data

stored on devices of this type can uncover, among other things, evidence that reveals or suggests

who possessed or used the device.

                      IX. ELECTRONIC DEVICES AND STORAGE

       35.     As described above and in Attachment A, this application seeks permission to

search and seize things that the TARGET DEVICE might contain, in whatever form they are



                                                   11
  Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 12 of 13 PAGEID #: 13




stored. Based on my knowledge, training, and experience, I know that electronic devices can

store information for long periods of time. Even when a user deletes information from a device,

it can sometimes be recovered with forensics tools. Similarly, things that have been viewed via

the Internet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensics tools.

       36.     Searching for the evidence described in Attachment A may require a range of data

analysis techniques. In some cases, agents and computer analysts may be able to conduct

carefully targeted searches that can locate evidence without requiring a time-consuming manual

search through unrelated materials that may be commingled with criminal evidence. In other

cases, however, such techniques may not yield the evidence described in the warrant. Criminals

can mislabel or hide information, encode communications to avoid using key words, attempt to

delete information to evade detection, or take other steps designed to frustrate law-enforcement

searches for information. These steps may require agents and law enforcement or other analysts

with appropriate expertise to conduct more extensive searches, such as scanning storage areas

unrelated to things described in Attachment A, or perusing all stored information briefly to

determine whether it falls within the scope of the warrant. In light of these difficulties, the ATF

intends to use whatever data analysis techniques appear necessary to locate and retrieve the

evidence described in Attachment A.

                                       X. CONCLUSION

       37.     Based on the forgoing, I believe that there is probable cause to issue a search

warrant for the TARGET DEVICE, more particularly described in Attachment A, and to seize

the items described in Attachment B, as those items constitute evidence of the SUBJECT




                                                 12
  Case: 2:24-mj-00095-KAJ Doc #: 1-1 Filed: 02/20/24 Page: 13 of 13 PAGEID #: 14




OFFENSES or property designed for use, intended for use, or used in committing the

SUBJECT OFFENSES.

       38.     Manner of execution. Because this warrant seeks only permission to examine a

device already in law enforcement’s possession, the execution of this warrant does not involve

the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.




                                                     Respectfully
                                                      espectfully submitted,


                                                     Matthew Voytek
                                                              Voytek, Special Agent
                                                     Bureau of Alcohol, Tobacco, Firearms,
                                                     and Explosives



Sworn to before me and signed in my
presence and/or by reliable electronic means
this ____
     20th day of February 2024.


The Honorable Kimberly A. Jolson,
UNITED STATES MAGISTRATE JUDGE




                                                13
